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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

  UNITED STATES OF AMERICA,                       §
                                                  §
                Plaintiff,                        §
  v.                                              §   CRIMINAL NO. EP-15-CR-0228-DB
                                                  §
  DALIA VALENCIA, a.k.a. Dalia                    §
  Velasco, a.k.a. Dalia Krantz, a.k.a. Dalia      §
  Krantz-Valencia (10),                           §
                                                  §
               Defendant.                         §


    UNITED STATES OF AMERICA’S MOTION FOR PRELIMINARY ORDER OF
           FORFEITURE AND FOR ORDER OF MONEY JUDGMENT

       The United States of America, by and through its United States Attorney for the Western

District of Texas, Richard L. Durbin, Jr., and the undersigned Assistant United States Attorneys,

respectfully moves this Honorable Court for the entry of a Preliminary Order of Forfeiture and an

Order of Money Judgment, pursuant to 18 U.S.C. § 1963(a) and (l) and Fed. R. Crim. P. 32.2(b)(1)

and (2), for the reasons explained below.

                                            Background

       On or about October 28, 2015, Defendant DALIA VALENCIA (hereinafter, the

“Defendant”) was charged in a Fourth Superseding Indictment, EP-15-CR-0228 (ECF No. 476),

with, among other offenses, conspiracy to conduct the affairs of an enterprise through a pattern of

racketeering activity, in violation of 18 U.S.C. § 1962(d) (Count One).

       The Indictment included a Notice of Government’s Demand for Forfeiture, providing

notice of the Government’s intent to seek forfeiture pursuant to 18 U.S.C. § 1963.

       On or about May 27, 2016, the Defendant pled guilty to Count One of the Fourth

Superseding Indictment. The Defendant admitted the forfeitability of, inter alia, the following:
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       a.      A sum of $12,480,000 in United States currency, representing a portion of the
               proceeds obtained as a result of the RICO conspiracy charged in Count One
               (hereinafter referred to as the “Subject Money Judgment”)

       b.      Real property and appurtenances located at 2013 Thunder Ridge Drive, El Paso,
               Texas 79938, with all improvements and attachments thereon; and

       c.      Real property and appurtenances located at Lot 10, Block 491, HORIZON CITY
               (UNIT SIXTY-FOUR), an Addition in El Paso County, Texas, according to the Plat
               thereof recorded in Volume 20, Page 33, Plat Records of El Paso County, Texas,
               with all improvements and attachments thereon

(Items (b) and (c) are referred to hereinafter as the “Subject Properties”).1

       The Government now seeks forfeiture of the Subject Properties as property constituting

and derived from proceeds obtained as a result of the conspiracy charged in Count One. In

addition, the Government seeks forfeiture of the Subject Money Judgment, representing a portion

of the proceeds obtained as a result of the conspiracy charged in Count One.




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        The Defendant also agreed to the forfeiture of certain firearms, seized currency, and other
real properties. The Government will be filing a motion for Preliminary Order of Forfeiture for
the seized currency and other real properties in advance of the sentencing of certain co-defendants.
The Government is not pursuing judicial forfeiture of the firearms, as they have been
administratively forfeited.
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                                              Discussion

A.     Applicable Law

       Pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, once a criminal

defendant is convicted of the offenses giving rise to the forfeiture allegations — either by trial or

plea — the district court must make a determination as to what property is subject to forfeiture

under the applicable statute and enter a preliminary order of forfeiture. Rule 32.2(b)(1) states, in

relevant part:

                 (A) Forfeiture determinations. As soon as practical after a verdict or
                 finding of guilty, or after a plea of guilty or nolo contendere is
                 accepted, on any count in an indictment or information regarding
                 which criminal forfeiture is sought, the court must determine what
                 property is subject to forfeiture under the applicable statute. If the
                 government seeks forfeiture of specific property, the court must
                 determine whether the government has established the requisite
                 nexus between the property and the offense. If the government seeks
                 a personal money judgment, the court must determine the amount of
                 money that the defendant will be ordered to pay.

Fed. R. Crim. P. 32.2(b)(1)(A).

       The forfeiture laws governing the Defendant’s RICO offense broadly require defendants

to forfeit, inter alia, “any property constituting, or derived from, any proceeds which the person

obtained, directly or indirectly, from racketeering activity or unlawful debt collection in violation

of section 1962.” 18 U.S.C. § 1963(a)(3).

       In addition to seeking forfeiture of specific property that constitutes or was derived from

illegal proceeds, the Government may also seek the imposition of a forfeiture money judgment

against the defendant. See United States v. Olguin, 643 F.3d 384, 395-98 (5th Cir. 2011)



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(reaffirming a district court’s entry of a money judgment against a defendant under 21 U.S.C. §

853 for the proceeds of his illegal drug activity).2

B.     Proposed Preliminary Order of Forfeiture

       Here, the Government has shown, by a preponderance of the evidence and by virtue of the

Defendant’s admissions, that the Subject Properties are forfeitable to the United States pursuant to

18 U.S.C. § 1963, as properties constituting and derived from proceeds obtained as a result of the

offense charged in Count One. The Government therefore moves this Court for entry of a

Preliminary Order of Forfeiture that forfeits all right, title, and interest of the Defendant in the

Subject Properties to the United States. The Government also moves this Court to find that the

Defendant has an interest in the Subject Properties.

       The Government further moves this Court to authorize the Government to take certain steps

to secure the properties and to commence ancillary forfeiture proceedings.

       First, the Government moves the Court, pursuant to 18 U.S.C. § 1963(e) and Fed. R. Crim.

P. 32.2(b)(3), to authorize the United States through its lawfully designated agents and agencies,

including the United States Marshals Service and the Drug Enforcement Administration, to seize


2
        Although Olguin involved forfeiture under 21 U.S.C. § 853, the reasoning of Olguin
applies equally to 18 U.S.C. § 1963. In reaching its decision, the Olguin court noted that “[t]he
text of [§ 853] is plain and unambiguous, and we handle it according to its plain meaning.” 643
F.3d at 395-96. Citing Monsanto and pointing to 21 U.S.C. § 853’s broad definition of “property”
as “real property . . . [and] tangible and intangible personal property,” the court determined that it
was “reluctant to create an exception for [the defendant’s] personal money.” Id. at 396. The Court
thus held that 21 U.S.C. § 853 authorizes personal money judgments. Like 21 U.S.C. § 853, 18
U.S.C. § 1963 also subjects to forfeiture “any property constituting, or derived from, any proceeds”
obtained from the offense, see 18 U.S.C. § 1963(a)(3), and similarly defines the term “proceeds,”
see 18 U.S.C. § 1963(b). See also United States v. Nagin, 810 F.3d 348, 353 (5th Cir. 2016)
(money judgments are proper under § 981).

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and take custody, control and possession of the Subject Properties, whether held by the Defendant

or a third party, and to undertake whatever discovery is necessary to identify, locate, and dispose

of the properties.

       Second, the Government moves the Court, pursuant to Fed. R. Crim. P. 32.2(b)(6)(A)

and (C) and 18 U.S.C. § 1963(l)(1), to authorize the United States to cause publication for at least

30 consecutive days on an official government internet website (www.forfeiture.gov) of notice of

the Preliminary Order of Forfeiture and of its intent to dispose of the Subject Properties in such

manner as the United States directs. The Government further moves this Court to authorize that

the contents of the published notice be in compliance with Fed. R. Crim. P. 32.2(b)(6)(B).

       Third, the Government moves the Court, pursuant to Fed. R. Crim. P. 32.2(b)(6), to

authorize the United States to send direct notice of the Preliminary Order of Forfeiture to any

person or entity who reasonably appears to the United States to be a potential petitioner with

standing to contest the forfeiture in the ancillary proceedings. The Government further moves this

Court to order that Appendix A hereto be served on potential petitioners along with a copy of the

Preliminary Order of Forfeiture.3

       Finally, pursuant to Fed. R. Crim. P. 32.2(c)(1)(B) and in an effort to promote judicial

economy, the Government moves the Court to authorize the United States to commence discovery

proceedings at the time that any petitions are filed in order to resolve any third-party issues,




3
        Appendix A, which is entitled “Direct Notice of Preliminary Order of Forfeiture,” sets
forth the appropriate procedures, deadlines and applicable statutes necessary to file a third-party
petition.
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including depositions, interrogatories, requests for production of documents, and the issuance of

subpoenas, pursuant to Rule 45 of the Federal Rules of Civil Procedure.

C.     Proposed Money Judgment

       The Government has also shown, by a preponderance of the evidence and by virtue of the

Defendant’s admissions, that she is liable for a money judgment in the amount of $12,480,000,

representing a portion of the proceeds obtained as a result of the conspiracy offense charged in

Count One. The Government therefore moves this Court for entry of the proposed “Order of

Money Judgment,” finding the Defendant jointly and severally liable for a money judgment in that

amount (the “Money Judgment”).

       The Government further moves the Court to make findings and set forth certain procedures

regarding collection of the Money Judgment.

       First, the Government moves the Court to find that the Money Judgment is a criminal

monetary penalty under Condition(s) 20, 21, and 22 of the United States Western District of Texas

Conditions of Probation and Supervised Release. The Government further moves the Court to

order that, should the Court assess a term of probation or supervised release, the Defendant shall

pay said money judgment in accordance with a schedule of payments established by the United

States Probation Office to commence after all other criminal debt has been satisfied pursuant to 18

U.S.C. §§ 3612(c), 3663(c)(5), and 3664(j).

       Second, the Government moves the Court to order that the Defendant shall make payments

by money order or certified check made payable to the “United States Marshals Service” and shall

include the case number of the instant cause on all money orders or certified checks, which in this

case is EP-15-CR-0228(10), and that said payments shall be sent to:
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                                 United States Attorney’s Office
                                 Attn: Asset Forfeiture Division
                                  601 NW Loop 410, Suite 600
                                   San Antonio, Texas 78216

       Third, the Government moves the Court to order that, pursuant to Fed. R. Crim. P. 32.2(e)

and 18 U.S.C. § 1963(m), the United States shall, at its option, be entitled to the forfeiture of any

other property (substitute assets) owned by the Defendant up to the value of the Money Judgment.

       Lastly, the Government moves the Court, pursuant to Fed. R. Crim. P. 32.2(b)(4)(B), to

order that at the time of the Defendant’s sentencing, the forfeiture of the Subject Properties and

the Money Judgment be included in her Judgment in a Criminal Case.

       WHEREFORE, PREMISES CONSIDERED, the United States of America respectfully

moves this Court for entry of the proposed “Preliminary Order of Forfeiture” and the proposed

“Order of Money Judgment.”

Dated: March 10, 2017
       El Paso, Texas

                                                      Respectfully submitted,

                                                      RICHARD L. DURBIN, JR.
                                                      United States Attorney for the
                                                      Western District of Texas

                                              By:                /s/
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                                CERTIFICATE OF SERVICE

        I hereby certify that on March 10, 2017, a true and correct copy of the foregoing instrument
was electronically filed with the Clerk of the Court using the CM/ECF System, which will transmit
notification of such filing to the following CM/ECF participant:

       Clay Hernandez, Attorney for Dalia Valencia
       Law Office of Clay Hernandez, PC
       455 West Paseo Redondo
       Tucson, Arizona 85701

                                                                    /s/
                                                     Anna E. Arreola
                                                     Assistant United States Attorney




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